Case 1:11-cv-03238-RM-KMT Document 1-1 Filed 12/12/11 USDC Colorado Page 1of1

Court Name: U.S. District Court, Colorad

Q
Division: 1

Receipt Number: COX843775
Cashier ID: 5

Transaction Date: 12/12/2811
Payer Name: DIANE WALKER

CIVIL FILING FEE
For: DIANE WALKER
Amount: $356. 68

CREDIT CARD
fmt Tendered: $358.68

Total Due: $358.86
Total Tendered: $356.88
Change Amt: $8.88

11-CY-3238

 

 

 

A fee of $53.80 will be assessed on
any teturned check.
